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 7
 8                                     UNITED STATES DISTRICT COURT
 9                                    EASTERN DISTRICT OF CALIFORNIA
10                             was at its root is going to come out on the footer is your problem
11   UNITED STATES OF AMERICA,
                                                   ) No. CR- 09-0125-FCD
12                  Plaintiff,                     )
13                                                 )
                                                   ) ORDER FOR BAIL REVIEW OR
14         v.                                      ) RECONSIDERATION OF ORDER
                                                   ) SETTING CONDITIONS
15
     SARTAJ CHAHAL, et al.,                        ) OF RELEASE OR DETENTION,
16                                                 ) (18 U.S.C. §3142)
                    Defendants.                    )
17
     _______________________________________ )
18
     GOOD CAUSE APPEARING THEREFOR,
19
             The Court orders this case put on calendar for a Bail Review Hearing on Friday, April 10, 2009
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     at 2:00 PM in the Courtroom Twenty-Six.
21
     DATED: April 8, 2009
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27
28
     United States of America v. Sartaj Chahal
     [Proposed] ORDER on Defendants Application for
     Bail Review Hearing
     Case No. CR-09-0125-FCD
